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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-1146V
                                          UNPUBLISHED


    NIKKI RUDD,                                                 Chief Special Master Corcoran

                         Petitioner,                            Filed: February 10, 2021
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Shoulder
                                                                Injury Related to Vaccine
                         Respondent.                            Administration (SIRVA)


Kathryn Lee Bruns, Faraci Lange, LLP, Rochester, NY, for petitioner.

Kimberly Shubert Davey, U.S. Department of Justice, Washington, DC, for respondent.


                                 DECISION AWARDING DAMAGES1

       On August 7, 2019, Nikki Rudd filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the “Vaccine
Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (SIRVA) after receipt of the influenza (flu) vaccine on October 5, 2016.
Petition at 1. Petitioner further alleges that the vaccine was administered in the United
States, onset of symptoms began within 48 hours of vaccination, her symptoms persisted
for more than six months, and she has never received compensation in the form of an
award or settlement for her vaccine-related injuries. Petition at 1, 5-6. The case was
assigned to the Special Processing Unit of the Office of Special Masters.

        On December 29, 2020, a ruling on entitlement was issued, finding Petitioner
entitled to compensation for SIRVA. On February 10, 2021, Respondent filed a proffer on

1  Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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award of compensation (“Proffer”) indicating Petitioner should be awarded $52,928.91.
Proffer at 2. In the Proffer, Respondent represented that Petitioner agrees with the
proffered award. Id. Based on the record as a whole, I find that Petitioner is entitled to an
award as stated in the Proffer.

      Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $52,918.91 in the form of a check payable to Petitioner. This amount
represents compensation for all damages that would be available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


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             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                        OFFICE OF SPECIAL MASTERS
____________________________________
                                     )
NIKKI RUDD,                          )
                                     )
                                     )
            Petitioner,              )
                                     )  No. 19-1146V
      v.                             )  Chief Special Master Corcoran
                                     )  ECF
SECRETARY OF HEALTH AND              )
HUMAN SERVICES,                      )
                                     )
            Respondent.              )
____________________________________)

            RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On August 7, 2019, Nikki Rudd (petitioner) filed a petition for compensation under the

National Childhood Vaccine Injury Act of 1986, as amended (“the Vaccine Act” or “the Act”),

42 U.S.C. §§ 300aa-1 to -34. Petitioner alleged that she suffered a Shoulder Injury Related to

Vaccine Administration (“SIRVA”) as a result of an influenza (“flu”) vaccine administered to

her on October 5, 2016. Petition at 1. On December 21, 2020, the Secretary of Health and

Human Services (“respondent”) filed a Rule 4(c) Report recommending that compensation be

awarded, and the Chief Special Master issued a Ruling on Entitlement finding petitioner entitled

to compensation on December 29, 2020. ECF No. 24; ECF No. 25.

I.     Items of Compensation

       A.     Pain and Suffering

       Respondent proffers that petitioner should be awarded $52,500.00 in actual pain and

suffering. See 42 U.S.C. § 300aa-15(a)(4). Petitioner agrees.
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       B.       Past Unreimbursable Expenses

       Evidence supplied by petitioner documents her expenditure for past unreimbursable

expenses related to her vaccine-related injury. Respondent proffers that petitioner should be

awarded past unreimbursable expenses in the amount of $428.91, as provided under the Vaccine

Act, 42 U.S.C. § 300aa-15(a)(1)(B). Petitioner agrees.

II.    Form of the Award

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to petitioner should be made through a

lump sum payment as described below and requests that the Chief Special Master’s decision and

the Court’s judgment award the following: a lump sum payment of $52,928.91, representing

compensation for actual pain and suffering ($52,500.00), and past unreimbursable expenses

($428.91), in the form of a check payable to petitioner, Nikki Rudd.

III.   Summary of Recommended Payments Following Judgment

       Lump sum payable to petitioner, Nikki Rudd:                                 $ 52,928.91

                                                    Respectfully submitted,

                                                    BRIAN M. BOYNTON
                                                    Acting Assistant Attorney General

                                                    C. SALVATORE D’ALESSIO
                                                    Acting Director
                                                    Torts Branch, Civil Division

                                                    HEATHER L. PEARLMAN
                                                    Acting Deputy Director
                                                    Torts Branch, Civil Division

                                                    ALEXIS B. BABCOCK
                                                    Assistant Director
                                                    Torts Branch, Civil Division




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                                          /s/ Kimberly S. Davey
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DATED: February 10, 2021




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